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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                Case No. 3:08cr79/MCR

ARNOLD RAY MANANSALA,
     Defendant.
______________________________________________________________________

                       REPORT AND RECOMMENDATION
      A Faretta hearing was held on February 24, 2010 before the undersigned.
Defendant, Arnold Ray Manansala, was present with counsel. Counsel for the
government was also present. Based on the discussion on the record, I find that
defendant has knowingly and voluntarily waived his right to counsel and will
represent himself. I therefore respectfully recommend that defendant’s Motion for
Self-Representation (doc. 931) be granted and that Patrick Jackson, Esq. remain as
standby counsel.


      At Pensacola, Florida, this 24th day of February, 2010.

                                   /s/   Miles Davis
                                         MILES DAVIS
                                         UNITED STATES MAGISTRATE JUDGE


                               NOTICE TO PARTIES

Any objections to these proposed findings and recommendations must be made by
12:00 noon, February 25, 2010. Failure to object may limit the scope of appellate
review of factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d
698, 701 (11th Cir. 1988).
